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                    UNITED STATES DISTRICT COURT
                         DISTRICT OF KANSAS
 KARL KAMMERER                    )
    Plaintiff,                    )
                                  )
 v.                               )  Case No.: 2:24-CV-2182
                                  )
 THE UNIVERSITY OF KANSAS         )
    Defendant.                    )

                                STIPULATION OF DISMISSAL

       Pursuant to Fed.R.Civ.P. 41(a)(1)(A)(ii), Plaintiff Karl Kammerer hereby dismisses his claims

against Defendant University of Kansas with prejudice, with each party to bear its own costs and fees.

There are no remaining claims in this matter.

                                                              Respectfully submitted,

                                                              Fagan & Emert, LLC

                                                              /s/Jennifer R. Johnson
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                                                              And

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                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on the 20th day of June 2025, a true and correct copy of

the above and foregoing was filed with the Clerk of Court via the electronic filing system, which will

automatically send notice of such filing to all counsel of record in accordance with the rules.

                                                                /s/Jennifer R. Johnson
                                                                Jennifer R. Johnson               #22096




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